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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
FURMINATOR, INC. )
Plaintiff, §
v. ) CASE NO. 4:10-CV-375-RWS
COASTAL PET PRODUCTS INC. §
Defendant. §

 

ORDER OF DISMISSAL

Plaintiff FURminator, Inc. (“FURminator”) and Defendant Coastal Pet Products, lnc.
(“Coastal”) state that pursuant to a separate Release and Settlement Agreement, the parties have
fully compromised and settled between them all claims. It is hereby ordered that all of
FURminator’s claims asserted against Coastal in the above-captioned action are dismissed with
prejudice. lt is further ordered that all of Coastal’s claims and counterclaims asserted against
FURminator in the above-captioned action are dismissed with prejudice. Each party will bear its
own costs and attorneys’ fees. The court retains jurisdiction to enforce the parties’ Release and
Settlement Agreement until all obligations in the Release and Settlement Agreement have been

fulfilled
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So 0RDERED this/3 ' dayof ZM ,2011.

 

ab‘lXRodney W. Sippéi \)

United Sta es District Court Judge

